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November 9, 2017

VIA ECF

Honorable Valerie Caproni
United States District Court
Southern District of New York
40 Foley Square, Rm 443
New York, NY 10007

Re:     Tannen v. CBS Interactive Inc., 1:17-cv-1169 (VEC)


Dear Judge Caproni:

         Pursuant to the Court’s Scheduling Order [Docket #15], the parties hereby submit a joint
letter regarding status of the case.

a.      STATEMENT OF ALL EXISTING DEADLINES, DUE DATES AND ANY ADDITIONAL
        DISCOVERY THAT NEEDS TO BE COMPLETED.

#     Description                                         Deadline
1     Defendant’s Response to Plaintiff’s Requests        November 15, 2017
      for Admissions
2     Defendant’s Deposition of Jon Tannen                November 15, 2017
3     Plaintiff’s Deposition of Alex Gleitman             November 16, 2017
4     Mutual exchange of documents responsive to          November 14, 2017
      parties’ requests
5     Pre-trial conference                                November 17, 2017
5     Completion of all expert discovery                  January 3, 2018


b.      BRIEF DESCRIPTION OF ANY OUTSTANDING MOTIONS

        Currently, there are no outstanding motions.

c.      BRIEF DESCRIPTION OF THE STATUS OF DISCOVERY AND OF ANY ADDITIONAL
        DISCOVERY THAT NEEDS TO BE COMPLETED OUTSTANDING

         Plaintiff has served the following: (a) initial disclosures; (b) first set of interrogatories; (c)
first set of requests for production of documents; (d) first set of requests for admissions; (e)
notice of deposition for Alex Gleitman. Defendant has served untimely responses to the
interrogatories and requests for production of documents and has therefore waived its objections.
Defendant’s response to the request for admissions is due November 15, 2017. Plaintiff does not
anticipate the need for further fact discovery.



	
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       Defendant has served the following: (a) initial disclosures; (b) first set of requests for
production of documents; and (c) notice of deposition for Jon Tannen. Plaintiff has served
responses to Defendant’s request for production of documents.

       The parties have yet to exchange documents, but plan to do so by no later than November
14, 2017.

d.           STATEMENT DESCRIBING THE STATUS OF ANY SETTLEMENT DISCUSSIONS AND
             WHETHER THE PARTIES WOULD LIKE A SETTLEMENT CONFERENCE

       (i)     Plaintiff’s Statement: At the initial case management conference held on August
18, 2016, counsel for Defendant CBSI indicated that his client would not settle this case without
considering other infringement actions which Tannen may have against CBSI involving
photographs that are not subject to the current dispute. The Court emphasized that it would be
prudent for plaintiff to include any other photographs as part of the negotiation.

        Consistent with the Court’s instructions, on October 8, 2017, plaintiff tendered a
reasonable settlement offer which included a total of six photographs: two of which are part of
the instant case and four of which have yet to be litigated. Defendant submitted a counter-offer
and Plaintiff thereafter made another demand.

        On October 27, 2017, in the midst of settlement negotiations on this case, Ballard Spahr
LLP, the same law firm which serves as defense counsel here, filed a patently frivolous copyright
infringement case on behalf of CBS against Tannen in obvious retaliation for this lawsuit. See
CBS v. Tannen, 1:17-cv-8321 (PAE). That case involves Tannen’s posting of a screenshot from a
58-year-old episode of the TV show “Gunsmoke” on his personal Facebook page. Newsweek
commented that “the case against Tannen seems to be somewhat retaliatory.”1 Torrentfreak.com
stated that “CBS Broadcasting has launched one of the most unusual copyright infringement
cases in recent history.”2 Arstechnica.com commented that CBS’ lawsuit against Tannen is
“essentially a retaliatory strike” and that “CBS has sued a photographer for copyright
infringement for doing something that’s practically ubiquitous in the news and entertainment
business - publishing still images from a television show.”3 CBS’ frivolous lawsuit has been
assigned to Judge Engelmeyer and Tannen’s answer is not due until December 30.

        Because the action before this Court is an “open-and-shut” copyright infringement case,
Plaintiff remains amenable to participating in a settlement conference at any time.

             (ii)          Defendant’s Statement:

																																																								
1
  See http://www.newsweek.com/cbs-sues-man-sharing-screenshot-59-year-old-episode-gunsmoke-social-media-
697477
	
2
  See https://torrentfreak.com/cbs-sues-man-for-posting-image-of-a-59-year-tv-show-on-social-media-171030/
	
3
  See https://arstechnica.com/tech-policy/2017/10/cbs-sues-man-for-copyright-over-screenshots-of-59-year-old-tv-
show/?comments=1
	

	
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        At the outset of the case, Defendant participated in good faith in the mediation ordered by
the Court and believed that progress had been made. The process was scuttled in the end,
however, when Plaintiff surprised Defendant and the Mediator by increasing his settlement
demand to cover claims that were not included in the complaint. Following the initial pretrial
conference in this case, the parties have exchanged settlement demands and offers. Because
Plaintiff continues to demand more than 100 times the value of a license for the use made by
Defendant, settlement has not been reached. Defendant believes that a settlement conference
would be useful.

e.     STATEMENT OF THE ANTICIPATED LENGTH OF TRIAL AND WHETHER THE CASE IS TO
       BE TRIED TO A JURY

       The parties anticipate trying this case before a Jury. The length of trial will be 2-3 days.

f.     STATEMENT OF WHETHER ANY PARTY ANTICIPATES FILING A MOTION FOR SUMMARY
       JUDGMENT OR A MOTION TO EXCLUDE EXPERT TESTIMONY

       Plaintiff seeks to file a motion for partial summary judgment on Defendant’s liability for
copyright infringement. If Defendant serves an expert report, Plaintiff reserves the right to file a
motion to exclude such expert testimony if warranted.

      Defendant reserves until the conclusion of its deposition of Plaintiff its determination of
whether to file a motion for summary judgment.

g.     ANY OTHER ISSUE THAT THE PARTIES WOULD LIKE TO ADDRESS AT THE PRETRIAL
       CONFERENCE

       Plaintiff: No other issues.

       Defendant: No other issues.

h.     ANY OTHER INFORMATION THAT THE PARTIES BELIEVE MAY ASSIST THE COURT IN
       ADVANCING THE CASE TO SETTLEMENT OR TRIAL

       Plaintiff: No other information.

       Defendant: No other information.

                                                      Respectfully Submitted,

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